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                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


     SHANNON ARNSTEIN, et al.,                                    MEMORANDUM DECISION AND
                                                                          ORDER
              Plaintiffs,
                                                                    Case No. 2:24-cv-00344-RJS-DAO
     v.
                                                                  Chief District Judge Robert J. Shelby
     SUNDANCE HOLDINGS GROUP, LLC,
                                                                    Magistrate Judge Daphne A. Oberg
              Defendant.


             Before the court is Defendant Sundance Holdings Group, LLC’s (Sundance) Motion to

 Amend and Certify the Court’s Order for Interlocutory Review. 1 Having reviewed the Motion

 and associated briefing, the court DENIES Sundance’s Motion.

                                                 BACKGROUND

             Sundance is a specialty retailer that sells a variety of clothing and other household

 products to consumers through physical catalogs and its website. 2 As part of its business

 operations, Sundance allegedly maintains a vast digital database comprised of its customers’

 names, home addresses, purchase histories, and more (collectively, Private Purchase

 Information). 3 Plaintiffs are prior customers of Sundance, and they allege Sundance unlawfully

 disclosed their Private Purchase Information to various third parties for compensation 4 in

 violation of Utah’s Notice of Intent to Sell Nonpublic Personal Information Act (NISNPIA). 5


 1
     Dkt. 41, Motion to Amend and Certify the Court’s Order [Dkt. 37] for Interlocutory Review (Motion).
 2
     Dkt. 12, First Amended Class Action Complaint ¶¶ 64, 101.
 3
     Id. ¶¶ 5, 95.
 4
     Id. ¶ 116.
 5
     Utah Code § 13-37.

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            Plaintiffs initiated this proposed class action in May 2024. 6 Two months later, Sundance

 filed a Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) claiming

 Plaintiffs could not establish subject matter jurisdiction under the Class Action Fairness Act

 (CAFA) 7 because NISNPIA prohibits “[a] person” from “bring[ing] a class action.” 8

 Specifically, Sundance argued NISNPIA’s class action bar deprives this court of subject matter

 jurisdiction because, “[w]ithout a viable class action, Plaintiffs cannot meet the amount-in-

 controversy requirement to establish diversity jurisdiction under [CAFA].” 9 The court

 disagreed. In its Memorandum Decision and Order denying Sundance’s Motion to Dismiss (the

 Order), the court analyzed the conflict between Federal Rule of Civil Procedure 23, which

 permits class action lawsuits in federal court, and NISNPIA’s class action bar pursuant to the

 Supreme Court’s framework articulated in Shady Grove Orthopedic Associates, P.A. v. Allstate

 Insurance Company. 10 The court ultimately resolved the contest in favor of Rule 23’s

 applicability to the present dispute. 11 In so holding, the court arrived at the same conclusion as

 another judge in the District of Utah, 12 but it also “respectfully disagree[d]” with portions of two




 6
     Dkt. 1, Class Action Complaint.
 7
     28 U.S.C. §§ 1332(d)(2), (5).
 8
   Dkt. 23, Defendant’s Motion to Dismiss First Amended Complaint [Doc 12] and Memorandum in Support (Motion
 to Dismiss); Utah Code § 13-37-203(3).
 9
     Motion to Dismiss at 5.
 10
      559 U.S. 393 (2010) (hereafter, Shady Grove).
  See Arnstein v. Sundance Holdings Grp., LLC, No. 2:24-CV-00344-RJS-DAO, 2024 WL 4882857, at *2 (D. Utah
 11

 Nov. 25, 2024).
 12
      See Curry v. Mrs. Fields Gifts, Inc., No. 2:22-cv-00651-JNP-DBP, 2023 WL 6318108 (D. Utah Sept. 28, 2023).

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 other District of Utah cases, 13 Callegari v. Blendtec, Inc. 14 and Fullmer v. A-1 Collection

 Agency, LLC. 15 The court issued its Order on November 25, 2024. 16

             Sundance filed the present Motion on December 13, 2024, seeking to certify the court’s

 Order for interlocutory review. 17 The Motion is now ripe for review. 18

                                               LEGAL STANDARD

             Generally, only “final decisions” of district courts are appealable. 19 An exception to this

 general rule is supplied by 28 U.S.C. § 1292(b), which enables a district court to certify an order

 for interlocutory appeal if the order “[1] involves a controlling question of law [2] as to which

 there is substantial ground for difference of opinion and [3] that an immediate appeal from the

 order may materially advance the ultimate termination of the litigation.” 20 However,

 interlocutory appeals are “rarely” certified. 21 Indeed, they “are limited to ‘extraordinary cases’”

 to ensure “the district court’s certification role serves as a ‘procedural screen to avoid a flood of

 fruitless petitions invoked contrary to the purpose of 1292(b).’” 22 The decision whether to

 certify an order pursuant to § 1292(b) “lies wholly within the sound discretion of the court.” 23


 13
      See Arnstein, 2024 WL 4882857, at *4.
 14
      No. 2:18-CV-308-DB, 2018 WL 5808805 (D. Utah Nov. 6, 2018).
 15
      No. 4:20-CV-00143-DN-PK, 2022 WL 1538675 (D. Utah May 16, 2022).
 16
      See Arnstein, 2024 WL 4882857, at *10.
 17
      Motion at 11.
 18
   See Dkt. 43, Plaintiffs’ Response in Opposition to Defendant’s Motion to Amend and Certify the Court’s Order
 [Dkt. 37] for Interlocutory Review (Opposition); Dkt. 44, Defendant’s Reply in Support of Its Motion to Amend and
 Certify the Court’s Order for Interlocutory Review [Doc 41] (Reply).
 19
      28 U.S.C. § 1291.
 20
      Id. § 1292(b).
 21
   See Chamberlain v. Crown Asset Mgmt., 662 F. Supp. 3d 1068, 1071 (D. Utah 2022) (citing Pack v. Investools,
 Inc., No. 2:09-CV-1042-TS, 2011 WL 2161098, at *1 (D. Utah June 1, 2011)).
 22
   Roberts v. C.R. England, Inc., No. 2:12-CV-00302-RJS-BCW, 2018 WL 2386056, at *2 (D. Utah Apr. 24, 2018)
 (citing Utah v. Kennecott Corp., 14 F.3d 1489, 1495 (10th Cir. 1994)).
 23
      Id. (citations omitted).

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                                                      ANALYSIS

             Sundance argues all of § 1292(b)’s requirements are satisfied, 24 and Plaintiffs challenge

 only Sundance’s ability to demonstrate the second element of the framework: whether there is a

 substantial ground for difference of opinion. 25 This element is satisfied when “the circuits are in

 dispute on the question and the court of appeals of the circuit has not spoken on the point, if

 complicated questions arise under foreign law, or if novel and difficult questions of first

 impression are presented.” 26

             To attempt to satisfy this element, Sundance appears to make two arguments: (1) this

 court’s Order creates an intra-district split of authority as it conflicts with Fullmer and Callegari

 by considering both Justice Scalia’s plurality opinion and Justice Stevens’ concurrence in Shady

 Grove to provide the analytical framework for assessing whether Rule 23 and state law

 conflict; 27 and (2) this court’s Order presents a novel and difficult question concerning whether

 NISNPIA’s class action bar applies in federal courts. 28 Neither argument is persuasive. A brief

 overview of the framework articulated in Shady Grove is helpful to understand why.

             Shady Grove sets out the familiar, two-step framework enabling federal courts to

 determine which law controls “[w]hen both a federal rule and a state law appear to govern a

 question before a federal court sitting in diversity.” 29 The first step requires courts to determine




 24
      See Motion at 5–10.
 25
   See Opposition at 5 (“The Motion should be denied for failure to demonstrate a ‘substantial ground for difference
 of opinion . . . . ’”).
 26
    Roberts, 2018 WL 2386056, at *2 (citing Kell v. Crowther, No. 2:07-CV-00359-CW, 2018 WL 813449, at *2 (D.
 Utah Feb. 9, 2018)).
 27
      Motion at 2.
 28
      Id. at 3, 7.
 29
      Shady Grove, 559 U.S. at 421 (Stevens, J., concurring).

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 whether the federal rule directly conflicts with the state law. 30 If there is no conflict, the court

 “engage[s] in the traditional Rules of Decision Act inquiry under [Erie Railroad Company v.

 Tompkins 31] and its progeny.” 32 If there is a conflict, the court proceeds to the second step and

 must apply the federal rule as long as it represents a valid exercise of Congress’s rulemaking

 authority under the Rules Enabling Act by not abridging, enlarging, or modifying any

 substantive right. 33 The court refers to the two components of the framework as Step One and

 Step Two respectively.

            Sundance’s first argument centers on which of the Shady Grove opinions guide Step One.

 The Shady Grove decision was fragmented, with Justice Scalia writing for the plurality, Justice

 Stevens joining parts of the plurality opinion and in the holding but concurring separately, and

 four justices dissenting. 34 This split has created some confusion among federal courts regarding

 which parts of the Shady Grove opinion are controlling. 35 Sundance insists that because this

 court relied on Justice Scalia’s plurality opinion and Justice Stevens’ concurrence in Shady

 Grove under Step One, the court created an intra-district split of authority for the Tenth Circuit to

 resolve. 36 The court disagrees. The fact that the court disagreed with portions of the Fullmer


 30
    See Stender v. Archstone-Smith Operating Tr., 958 F.3d 938, 943 (10th Cir. 2020) (citing Shady Grove, 559 U.S.
 at 399 (plurality opinion)).
 31
      304 U.S. 64 (1938).
 32
      Shady Grove, 559 U.S. at 421 (Stevens, J., concurring).
 33
      Id. at 422 (citing 28 U.S.C. § 2072(b)).
 34
      Id. at 395–96 (majority opinion).
 35
    See, e.g., Stender, 958 F.3d at 943, 947 (“This court has held that Justice Stevens’s concurrence states Supreme
 Court law under the rule stated in Marks v. United States, 430 U.S. 188, 193, 97 S.Ct. 990, 51 L.Ed.2d 260 (1977) . .
 . Others, including then-Judge Kavanaugh, think that the view of the plurality opinion governs on step two of the
 analysis because it merely restates law settled by Sibbach and no other Justice (including the dissenters) expressed
 agreement with the concurrence.” (citing Los Lobos Renewable Power, LLC v. Americulture, Inc., 885 F.3d 659,
 668 n.3 (10th Cir. 2018); James River Ins. Co. v. Rapid Funding, LLC, 658 F.3d 1207, 1217–18 (10th Cir. 2011);
 Garman v. Campbell Cnty. Sch. Dist. No. 1, 630 F.3d 977, 983 n.6 (10th Cir. 2010); Abbas v. Foreign Pol’y Grp.,
 LLC, 783 F.3d 1328, 1336–37 (D.C. Cir. 2015)).
 36
      Motion at 2.

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 and Callegari opinions that did not apply Justice Scalia’s opinion under Step One does not create

 a live, intra-district conflict requiring interlocutory appellate review because the Supreme Court

 and the Tenth Circuit have already “spoken on th[is] point.” 37

            It is well established that “[w]hen a fragmented Court decides a case and no single

 rationale explaining the result enjoys the assent of five Justices, ‘the holding of the Court may be

 viewed as that position taken by those Members who concurred in the judgments on the

 narrowest grounds.’” 38 In Shady Grove, Justice Stevens joined Parts I and II-A of Justice

 Scalia’s plurality opinion. 39 Because Part II-A addresses Step One, Justice Scalia’s opinion

 controls that part of the framework. The controlling effect of this part of the opinion has been

 recognized by courts around the country 40 and by the Tenth Circuit. 41 Justice Scalia’s opinion is

 helpful here because it forecloses any argument that Rule 23 does not directly conflict with a

 state law that limits or imposes additional requirements beyond those articulated in Rule 23 in

 order to pursue a claim as a class. 42 And ultimately, the fact that other district courts in this



 37
      Roberts, 2018 WL 2386056, at *2 (citing Kell, 2018 WL 813449, at *2).
 38
      Marks v. U.S., 430 U.S. 188, 193 (1977) (citation omitted).
 39
      Shady Grove, 559 U.S. at 395–96, 416.
 40
   See, e.g., Roberts v. C.R. England, Inc., 321 F. Supp. 3d 1251, 1254 (D. Utah 2018) (citation omitted); Curry,
 2023 WL 6318108, at *3; Lisk v. Lumber One Wood Preserving, LLC, 792 F.3d 1331, 1335 (11th Cir. 2015) (“But
 before turning to that question, it is important to note that Justice Stevens joined parts of Justice Scalia's opinion.
 Those parts, labeled sections I and II–A, thus were joined by five justices; those parts were the opinion of the Court.
 And those parts confirmed the analysis long followed in resolving conflicts between the Federal Rules of Civil
 Procedure and contrary provisions of state law.”); Abbas, 783 F.3d at 471 n.1.
 41
    See Stender, 958 F.3d at 943 (“There were three opinions. Four Justices dissented. Justice Scalia wrote an opinion
 joined in full by three Justices. Justice Stevens joined part of Justice Scalia's opinion (making that part a majority
 opinion) and wrote a separate concurring opinion. The majority opinion set forth the framework for resolving the
 issue: a Federal Rule governs over state law (1) when it ‘answer[s] the same question’ as the state law, and (2) it is
 not ‘ultra vires.’”).
 42
   Indeed, by acknowledging the binding effect of Justice Scalia’s opinion, the court concluded that “[o]nce a
 plaintiff elects to bring a class action and satisfies Rule 23’s requirements, courts must permit plaintiffs to proceed
 as a class[, provided there is no Enabling Act violation] . . . and any state statute—like NISNPIA or the UCSPA—
 restricting a party’s ability to bring a class action more than what is already articulated in Rule 23 necessarily and
 directly conflicts with the Rule.” Arnstein, 2024 WL 4882857, at *4.

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 circuit may have failed to consider the binding effect of Justice Scalia’s opinion does not create

 an unresolved, intra-district split of authority when binding authority on the issue exists.

            Still, Sundance takes issue with this and other courts’ reliance on both Justice Scalia and

 Justice Stevens’ opinions with respect to Step One because, according to Sundance, the two

 opinions can be read as conflicting. 43 Sundance argues this has “serious ramifications” because

 if Justice Scalia’s opinion prevails, then any state law which imposes restrictions on the class

 action form beyond those articulated in Rule 23 must be read to conflict with Rule 23. 44 But if

 Justice Stevens’ concurrence receives greater weight, it provides a “saving construction,” which

 enables courts to read Rule 23 as merely permitting class actions rather than requiring them and

 allows Rule 23 to coexist with such laws. 45 This argument is unconvincing, and the court need

 not reconcile this purported conflict when Rule 23 and NISNPIA clearly conflict under either

 iteration of Step One. 46

            Indeed, even assuming Justice Stevens intended to limit the plurality’s holding as to Step

 One, his limitation would not change the outcome with respect to Rule 23. Justice Stevens

 readily acknowledged a conflict between Rule 23 and a state class action bar because Rule 23

 “squarely govern[s] the determination [of] whether the court should” certify a class action as

 “[t]hat is the explicit function of Rule 23.” 47 In other words, because Rule 23 “squarely”


 43
   Reply at 5; see also Arnstein, 2024 WL 4882857, at *3 (“Because Justice Stevens joined the plurality's analysis of
 Step One in Shady Grove, the plurality opinion and Justice Stevens's concurrence guide this part of the analysis.”);
 Curry, 2023 WL 6318108, at *2 (relying on both the plurality opinion and the concurrence in Shady Grove for its
 Step-One analysis); Roberts, 321 F. Supp. 3d at 1254–55 (same).
 44
      Reply at 5.
 45
      Id.
 46
    However, the court observes the Supreme Court did not see a conflict between the two opinions with respect to
 Step One. As expressed by the plurality, Justice Stevens “departs from us only with respect to the second part of the
 test, i.e., whether application of the Federal Rule violates § 2072(b) . . . .” Shady Grove, 559 U.S. at 411 (plurality
 opinion).
 47
      Id. at 429–30 (Stevens, J., concurring).

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 answers the question whether plaintiffs can maintain a class action in federal court, it is

 impossible for NISNPIA or any other state statute’s prohibition of class actions to operate

 alongside the Rule under either Justice Scalia’s or Justice Stevens’ reasoning.

             The alleged conflict between Justices Stevens and Scalia under Step One is actually

 between the dissenters and the majority 48 in Shady Grove. Writing for the dissent, Justice

 Ginsberg agreed with the majority’s articulation of the governing framework: when “a Federal

 Rule controls an issue and directly conflicts with state law, the Rule, so long as it is consonant

 with the Rules Enabling Act, applies in diversity suits.” 49 She also agreed that if “no Federal

 Rule or statute governs the issue, the Rules of Decision Act, as interpreted in Erie, controls.” 50

 However, Justice Ginsberg disagreed with the majority because, in her view, the majority found

 “conflict [between Rule 23 and the New York law at issue] where none [was] necessary.” 51

 Careful to consider the Court’s precedential charge to “interpre[t] the Federal Rules . . . with

 sensitivity to important state interests” and “to avoid conflict with important state regulatory

 policies,” 52 Justice Ginsberg perceived “no unavoidable conflict between Rule 23 and [the New

 York law]” and “would [have] decide[d] th[e] case” pursuant to the Court’s Erie jurisprudence. 53

             Justice Stevens disagreed with Justice Ginsberg and found there to be an unavoidable

 conflict under Step One. Indeed, he lamented how “[t]he dissent would apply the Rules of

 Decision Act inquiry under Erie even to cases in which there is a governing federal rule, and thus



 48
   Because five justices joined in Part II-A of the Shady Grove opinion, the court refers to that portion of the opinion
 as the majority opinion.
 49
      Id. at 438 (Ginsberg, J., dissenting).
 50
      Id. at 438–39.
 51
      Id. at 446.
 52
      Id. at 442 (citations omitted) (alteration in the original).
 53
      Id. at 452.

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 the Act, by its own terms, does not apply.” 54 He continued, “[a]lthough it reflects a laudable

 concern to protect ‘state regulatory policies,’ . . . Justice Ginsburg’s approach would, in my

 view, work an end run around Congress’ system of uniform federal rules[.] . . . Federal courts

 can and should interpret federal rules with sensitivity to ‘state prerogatives,’ . . . but even when

 ‘state interests . . . warrant our respectful consideration,’ . . . federal courts cannot rewrite the

 rules.” 55 Thus, in Justice Stevens’ view, Rule 23 so clearly “governed the determination whether

 the court should” allow a class action, that a conflict between Rule 23 and the New York law

 was certain, even despite his expressed consideration of state prerogatives. 56 This appears to

 align with the plurality’s view of Rule 23 under Step One. 57 Accordingly, in cases involving

 Rule 23, and even applying Sundance’s interpretation of Justice Stevens’ “saving construction,”

 there is no question Rule 23 would still be in direct conflict with state laws that prohibit class

 actions. This court’s reliance on both Justice Scalia and Justice Stevens’ opinions creates no

 unresolved, intra-district split of authority on this issue. Interlocutory review is unwarranted.

             Second, Sundance argues the applicability of NISNPIA’s class action bar in federal court

 presents a novel and difficult question that the Tenth Circuit has never addressed. 58 But while

 resolving the contest between Rule 23 and NISNPIA is not easy, it is not so complicated and

 novel that it warrants interlocutory review. Indeed, the resolution of the issue is governed by a

 “familiar” framework, 59 and courts must be left with “little doubt” before resolving any contest



 54
      Id. at 431 (Stevens, J., concurring).
 55
      Id.
 56
      Id. at 429–30.
 57
   Id. at 398–99 (majority opinion) (“Rule 23 provides a one-size-fits-all formula for deciding the class-action
 question.”).
 58
      Motion at 7.
 59
      Shady Grove, 559 U.S. at 398 (majority opinion).

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 between a federal rule and state law in favor of the state law. 60 The familiarity and binding

 nature of the framework combined with the heavy burden to demonstrate an Enabling Act

 violation provides the court with clear guardrails to guide its analysis. Moreover, while the

 Tenth Circuit has not yet applied Shady Grove to the precise question at issue, another court in

 this district has. 61 And tellingly, that court and this court reached the same conclusion: that

 NISNPIA’s class action bar must yield to Rule 23 pursuant to the framework described in Shady

 Grove. 62

             At bottom, there is no unresolved, intra-district split of authority with respect to Step One

 warranting immediate interlocutory review; there are no questions arising under foreign law in

 this case; and there are no sufficiently novel or difficult questions of first impression in this

 court’s Order. Instead, there is “‘sufficient guidance and authority to decide this question under

 controlling federal authority.’” 63 As such, Sundance cannot demonstrate a required element to

 justify interlocutory review.

                                                   CONCLUSION

             For the foregoing reasons, Sundance’s Motion DENIED. 64

             SO ORDERED this 19th day of February 2025.




 60
      Id. at 432 (Stevens, J., concurring).
 61
      See Arnstein, 2024 WL 4882857; Curry, 2023 WL 6318108.
 62
      See Arnstein, 2024 WL 4882857, at *9; Curry, 2023 WL 6318108, at *7.
 63
      Roberts, 2018 WL 2386056, at *2.
 64
      Dkt. 41. Sundance’s requests that the court amend its Order and stay these proceedings are also denied.

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                                               BY THE COURT:



                                               ____________________________
                                               ROBERT J. SHELBY
                                               United States Chief District Judge




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